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 1                  IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
 2                             TAMPA DIVISION
 3
 4   UNITED STATES OF AMERICA,             )
                                           )
 5                    Plaintiff,           )
                                           )
 6                                         ) Case No.
              vs.                          ) 8:18-CR-00234-MSS-SPF-3
 7                                         )
                                           )
 8   ALLAN BURT GUINTO,                    )
                                           )
 9                    Defendant.           )
10
11
     ____________________________________________________________
12
                             SENTENCING HEARING
13                  BEFORE THE HONORABLE MARY S. SCRIVEN
                        UNITED STATES DISTRICT JUDGE
14
                          SEPTEMBER 17, 2019
15                     COMMENCING AT 10:38 A.M.
                            TAMPA, FLORIDA
16   ____________________________________________________________
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18
19
20             Proceedings recorded by mechanical stenography,
     transcript produced using computer-aided transcription.
21   ____________________________________________________________
22                       DAVID J. COLLIER, RMR, CRR
                      FEDERAL OFFICIAL COURT REPORTER
23                  801 NORTH FLORIDA AVENUE, 7TH FLOOR
                          TAMPA, FLORIDA  33602
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 1   APPEARANCES:
 2
 3   FOR THE GOVERNMENT:
 4
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12
13   FOR THE DEFENDANT ALLAN BURT GUINTO:
14
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 1                          P R O C E E D I N G S
 2                              - - - o0o - - -
 3               THE COURT:     Good morning.     Call the case, please.
 4               COURTROOM DEPUTY:      Yes, Your Honor.
 5               This is Case Number 8:18-CR-234-T-35SPF, United
 6   States of America versus Allan Burt Guinto.
 7               THE COURT:     Will counsel state their appearances,
 8   please.
 9               MR. GAMMONS:     Good morning, Your Honor.
10   Carlton Gammons and Natalie Adams on behalf of the
11   United States.
12               THE COURT:     Good morning.
13               MR. GAMMONS:     Also seated at counsel table is
14   Agent Austin Blake Childress.
15               MR. STECHSCHULTE:      Good morning, Your Honor.
16   Ben Stechschulte representing Allan Guinto.
17               THE COURT:     Good morning.
18               MR. STECHSCHULTE:      Good morning, Your Honor.
19               THE COURT:     Please swear the defendant.
20               COURTROOM DEPUTY:      Please stand and raise your
21   right hand.
22               Do you solemnly swear or affirm under penalty of
23   perjury that the statements you will give in this cause
24   shall be the truth, the whole truth and nothing but the
25   truth, so help you God?
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 1               THE DEFENDANT:     Yes.
 2               COURTROOM DEPUTY:      Please state your name for the
 3   record.
 4               THE DEFENDANT:     Allan Guinto.
 5               COURTROOM DEPUTY:      Thank you, sir.      You may be
 6   seated.
 7               THE COURT:    Mr. Guinto, you're under oath.          You
 8   have to give truthful answers.         If you give false answers,
 9   you face penalties of perjury, false statement and
10   obstruction.     Do you understand that?
11               THE DEFENDANT:     Yes, Your Honor.
12               THE COURT:    At the same time, it is not my purpose
13   to induce you to give false answers or mislead you, so if at
14   any time you don't understand something that I'm saying or
15   if you need a chance to speak with your lawyer, just let me
16   know and you'll be given the clarification that you require
17   and you'll be allowed to speak with your lawyer.             Do you
18   understand that?
19               THE DEFENDANT:     Yes, Your Honor.
20               THE COURT:    Sir, on January the 17th you entered a
21   plea of guilty to Counts One, Two and Eight of the second
22   superseding indictment.       Count One charges you with
23   conspiracy to commit murder in aid of racketeering, in
24   violation of 18 U.S.C. Section 1959(a)(5); Count Two charges
25   you with murder in aid of racketeering, in violation of
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 1   18 U.S. Code Sections 1959(a)(1) and 2, which is aiding and
 2   abetting; and Count 8 charges you with accessory after the
 3   fact, in violation of 18 United States Code Section 3.
 4               The Court has already adjudicated you guilty based
 5   upon the plea that you have entered, and now it is the stage
 6   in the proceedings where it's my job to decide what your
 7   sentence will be.      I make that decision by talking to you,
 8   your lawyer and counsel for the Government, and reviewing
 9   the submissions the parties have made in advance of this
10   hearing, as well as considering any argument and witnesses
11   presented at the hearing.        Do you understand that?
12               THE DEFENDANT:     Yes, Your Honor.
13               THE COURT:     Counsel, does the defense have any
14   objection to the factual statements in the presentence
15   report?
16               MR. STECHSCHULTE:      No, Your Honor.
17               THE COURT:     Any objection to the guideline
18   calculations?
19               MR. STECHSCHULTE:      No, Your Honor.
20               THE COURT:     Has the Government had an opportunity
21   to review the presentence report?
22               MR. GAMMONS:     Yes, Your Honor.
23               THE COURT:     Any objections as to its factual or
24   legal accuracy?
25               MR. GAMMONS:     No, Your Honor.
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 1               THE COURT:    Mr. Guinto, have you had a chance to
 2   review the presentence report?
 3               THE DEFENDANT:     Yes, Your Honor.
 4               THE COURT:    Are the facts in it, sir, true to the
 5   best of your knowledge and belief?
 6               THE DEFENDANT:     Yes, Your Honor.
 7               THE COURT:    Have you discussed the guidelines with
 8   your lawyer?
 9               THE DEFENDANT:     Yes, Your Honor.
10               THE COURT:    Do you feel you understand those
11   guidelines?
12               THE DEFENDANT:     Yes, Your Honor.
13               THE COURT:    There being no objections to the
14   factual statements and guideline calculations in the report,
15   the Court adopts the facts as its findings of fact and
16   determines the guidelines to be as follows:            This defendant
17   faces a total offense level of 40.          He has a criminal
18   history category of I.       The guidelines would call for a term
19   of incarceration of life, a one to three year period of
20   supervision as to Counts One and Eight, a two year to five
21   year term of supervision as to Count Two, and no
22   restitution, the fine range is between 50,000 and $500,000,
23   and there is a $300 special assessment, which is $100 for
24   each offense.
25               Are there any victims or victims' family members
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 1   present in the courtroom?
 2                MR. GAMMONS:    No, Your Honor.
 3                THE COURT:     Were they given an opportunity to be
 4   here?
 5                MR. GAMMONS:    Yes, Your Honor.
 6                THE COURT:     The Government has filed a motion in
 7   this case.     Do you wish to be heard on your motion?
 8                MR. GAMMONS:    Yes, Your Honor.
 9                Your Honor, the United States is requesting a
10   six level downward departure in Mr. Guinto's offense level
11   for his cooperation with the United States.            Mr. Guinto was
12   arrested in December of 2017 and he began cooperating with
13   law enforcement officers almost immediately.            He sat down at
14   a sworn statement with State prosecutors in February 2018
15   when this case was still with the State of Florida, in
16   April 2018 he testified in grand jury in this matter in
17   Federal Court, and as the Court knows, he testified at the
18   trial of Christopher Cosimano and Michael Mencher.
19                Throughout the process Mr. Guinto has been
20   forthcoming, he's been truthful, he's been reliable, and
21   I think his testimony was important in securing the
22   convictions of his co-defendants, Mr. Cosimano and
23   Mr. Mencher.
24                In addition, I will add that throughout this
25   process there have been a number of threats made to several
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 1   of the cooperating defendants in this case, including
 2   Mr. Guinto, and he still has stood fast with his
 3   cooperation, and because of that we request a six level
 4   decrease in his offense level in this case.
 5               THE COURT:     What's the nature and character of the
 6   threats to this defendant?
 7               MR. GAMMONS:     Your Honor, specifically, we kept
 8   Mr. -- at one point we changed Mr. Guinto's facility where
 9   he was being housed due to individuals involved in the
10   motorcycle community or individuals who believe that because
11   he was cooperating with law enforcement, that they were
12   unhappy with this, so we relocated where he was staying.
13               THE COURT:     What was the specific or general
14   threat to the defendant?       Did somebody hit him, accost him?
15               MR. GAMMONS:     No, Your Honor.      There were threats
16   of violence, no physical contact.
17               THE COURT:     Such as what?
18               MR. GAMMONS:     Specifically, I don't -- I don't
19   have that information with me, Your Honor.
20               THE COURT:     How was it communicated to
21   law enforcement?
22               MR. GAMMONS:     It was made known to me through the
23   case agent.
24               THE COURT:     All right.    Does the case agent know
25   what the threats were?
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 1               MR. GAMMONS:     May I have a moment to consult,
 2   Your Honor?
 3               THE COURT:     Yes.
 4               MR. GAMMONS:     Your Honor, my understanding is that
 5   the threats were made, people affiliated with the Outlaws
 6   were making threats to Mr. Guinto and his family, it was
 7   communicated to the jail staff, the jail staff notified the
 8   case agent, the case agent notified me.
 9               THE COURT:     All right.     I just need to know what
10   the threats were.      I heard the word "threat."         Who said what
11   to whom about what?
12               Can the case agent be sworn.
13               MR. GAMMONS:     Yes, Your Honor.
14               THE COURT:     Please swear the witness.
15               COURTROOM DEPUTY:      Do you solemnly swear or affirm
16   under penalty of perjury that the testimony you're about to
17   give shall be the truth, the whole truth and nothing but the
18   truth, so help you God?
19               THE WITNESS:     Yes, I do.
20               THE COURT:     Please state your name for the record.
21               THE WITNESS:     Austin Blake Childress.
22               THE COURT:     Mr. Childress, sir, you indicate that
23   at some point it came to your attention that threats have
24   been made to Mr. Guinto and his family.           Can you tell me
25   about those threats in detail.
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 1                THE WITNESS:     As far as specifics, I don't
 2   remember the name of the person who made threats.              They were
 3   supposed to be a member of a friendly white supremacist
 4   group that was familiar with the Outlaws known as
 5   The Unforgiven.      It was, I believe, a co-defendant in
 6   another case that ATF has currently moving forward, and they
 7   were -- he was told that if -- I believe if he --
 8                THE COURT:     "He" whom?
 9                THE WITNESS:     If Mr. Guinto persisted in his
10   cooperation with the Government, that he would -- that
11   physical harm would come to him and/or his family,
12   specifically his fianceé.
13                THE COURT:     This is what this individual
14   supposedly said to whom?
15                THE WITNESS:     To Mr. Guinto, I believe.
16                THE COURT:     Was this a recorded conversation or
17   just reported to you by Mr. Guinto?
18                THE WITNESS:     It was not recorded, to my
19   knowledge.     It was reported by Mr. Guinto as well as
20   jail staff, after I believe he reported it to jail staff as
21   well.
22                THE COURT:     This person was incarcerated?
23                THE WITNESS:     Yes.   Correct.
24                THE COURT:     But in the same housing facility as
25   Mr. Guinto?
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 1               THE WITNESS:     I know they had contact with one
 2   another.    I believe they had contact with one another.
 3   Whether he was housed in the same housing unit or they
 4   passed in the halls, I'm not certain.
 5               THE COURT:     Any other threats, to your knowledge?
 6               THE WITNESS:     Not that I can recall at the time.
 7               THE COURT:     And this was dealt with by moving
 8   Mr. Guinto to another facility?
 9               THE WITNESS:     Yes.
10               THE COURT:     All right.     Thank you.
11               Do you wish to be heard in response to the motion?
12               MR. STECHSCHULTE:       Yes, Your Honor.
13               Your Honor, with respect to the threats that the
14   Court had questions on, I can provide some specifics that
15   were referenced in our sentencing memorandum that was under
16   seal.   Specifically there's two instances that we were aware
17   of.
18               THE COURT:     Is there any part of this proceeding
19   that needs to remain under seal for purposes of this
20   disclosure to the Court?
21               MR. STECHSCHULTE:       Your Honor, I would ask that
22   this portion be under seal, Your Honor.
23               THE COURT:     All right.     Then I'll ask everybody
24   who is in the courtroom that is not with law enforcement or
25   with the parties, please step out, including family members
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 1   and friends.     You'll be able to step back in in a few
 2   minutes.    Counsel can remain in the courtroom.
 3               Is there any reason Ms. Borghetti has to be out of
 4   the courtroom for this part of the proceeding?
 5               MR. STECHSCHULTE:       No, Your Honor.
 6               THE COURT:     You can remain.
 7               MS. BORGHETTI:      Thank you very much, Your Honor.
 8               THE COURT:     She represents a co-defendant.
 9               MR. STECHSCHULTE:       I'm aware of that, Your Honor.
10                                  - - - - -
11    (Court entered a sealed session at 10:47 a.m.             Transcript
12                filed under seal under separate cover.
13        Proceedings in open court resumed at 10:53 a.m. and
14                          continued as follows:)
15                                  - - - - -
16               THE COURT:     In regard to the Government's motion
17   for six levels, which as I understand it was an amendment to
18   its original motion, is the defense requesting any
19   additional levels beyond the six proposed by the Government?
20               MR. STECHSCHULTE:       Yes, we are, Your Honor.
21   Specifically -- Your Honor, I want to wait for his family to
22   come in before I make my argument.
23               THE COURT:     It's not a spectator sport.         Go ahead.
24               MR. STECHSCHULTE:       I know, Your Honor.       I know
25   they care, so -- Your Honor, pursuant to 5K1.1, obviously
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 1   the Court is well-aware of the five reasons that the Court
 2   can review when determining whether -- the level -- the
 3   appropriate level reduction.         I think there's two or three
 4   that are of particular importance in this case.
 5               THE COURT:     Just for the record, I think all of
 6   the spectators are back in the room.
 7               Continue.
 8               MR. STECHSCHULTE:       Your Honor, the Court's
 9   evaluation of the significance and usefulness of the
10   defendant's assistance, obviously taking into consideration
11   the Government's evaluation, and the reli -- and the second
12   reason, the reliability of any information or testimony
13   provided by the defendant.        As referenced in our sentencing
14   memorandum, after reviewing the trial transcripts,
15   specifically reviewing Mr. Guinto's direct and
16   cross-examination testimony and the Government's and defense
17   closing arguments, Mr. Guinto's testimony was --
18               THE COURT:     What level of reduction are you asking
19   for?
20               MR. STECHSCHULTE:       Your Honor, we would ask for
21   the reduction to be ten levels, to ten.
22               THE COURT:     And based upon a reduction to
23   ten levels, this would be from essentially a 42-I to a 32-I;
24   is that right?
25               MR. STECHSCHULTE:       I believe --
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 1               THE COURT:     He guidelines out at 40.
 2               MR. STECHSCHULTE:       That's correct.
 3               THE COURT:     But the first place at which life is
 4   an available sentence is 42.
 5               MR. STECHSCHULTE:       So that would put him at
 6   offense level 32.      That would be -- well, if he guidelines
 7   out at 42 -- I admittedly don't have my guidelines with me.
 8               THE COURT:     42-I is the first place at which life
 9   is an available sentence, and under your proposal he would
10   then guideline out at 32-I, which is a 121 to 151.              Under
11   the Government's current proposal he would guideline out at
12   188 to 235.
13               MR. STECHSCHULTE:       That's correct, Your Honor.
14               THE COURT:     So this is a question of 10 or
15   15 years, give or take a few months.
16               MR. STECHSCHULTE:       Yes, Your Honor.
17               THE COURT:     All right.     Continue.
18               MR. STECHSCHULTE:       Your Honor, going back to the
19   reasons for -- under 5K1.1, specifically looking at the
20   Government -- after reviewing the Government's closing
21   argument, it was referenced -- Mr. Guinto's testimony was
22   referenced on multiple occasions to basically -- the
23   Government to convey the argument to the jury that his
24   testimony was consistent with the evidence.
25               If you also look at the trial itself, the first
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 1   witness that was called was Mr. Guinto.            As anyone knows
 2   who -- when you conduct a trial and you're determining the
 3   order of your witnesses, obviously you're not going to put
 4   your worst witness as your first witness, Your Honor.               The
 5   Government believed it was important, Mr. Guinto's
 6   testimony, and he was the number one witness that they
 7   called in order to start its case.          But more importantly,
 8   what did he specifically testify to that was so important?
 9   There were four specific instances that the Government
10   referenced in its closing argument that I would like to
11   point out to the Court that shows how significant his
12   testimony was, Your Honor.
13               Number 1, Your Honor, Mr. Guinto's account of the
14   James Costa or what is a/k/a known as the Jimbo shooting was
15   consistent with the other evidence.           Mr. Guinto, as the
16   Court was aware, disposed of the firearm involved in the
17   shooting; however, the information he provided regarding
18   that shooting was consistent with the other evidence, and
19   that was according to the Government's argument that it made
20   during the closing argument, Your Honor.
21               THE COURT:     Do you think that one of the reasons
22   that the defendant was acquitted of the shooting was the
23   inconsistency of the evidence with respect to who bumped the
24   victim's car, whether it was Mr. Guinto who may have done
25   that versus Mr. Cosimano?
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 1               MR. STECHSCHULTE:       Obviously, Your Honor, just to
 2   be frank, I can't -- that would be -- I would be speculating
 3   at this point.      I wasn't present other than reviewing the
 4   transcript, so I can't --
 5               THE COURT:     Well, who bumped the car, Mr. Guinto
 6   or Mr. Cosimano?
 7               MR. STECHSCHULTE:       Who bumped the car?
 8               THE COURT:     Yes.
 9               MR. STECHSCHULTE:       It was my understanding -- it
10   wasn't Mr. -- it wasn't Mr. Guinto, that's my understanding,
11   Your Honor.
12               THE COURT:     Mr. Guinto maintains that he was not
13   the person who bumped into -- what's the victim's name?
14               MR. STECHSCHULTE:       Are you talking about
15   Paul Anderson or James Costa, Your Honor?
16               THE COURT:     Mr. Costa's car.
17               MR. STECHSCHULTE:       That's our understanding
18   Your Honor.     Yes, that's our position.
19               THE COURT:     All right.
20               MR. STECHSCHULTE:       Second, Your Honor, the
21   recovered shell casings that were recovered on the crime
22   scene match the firearm that the Defendant Cosimano handed
23   Mr. Guinto to dispose of after the murder.
24               THE COURT:     Was Mr. Guinto there at the time of
25   the incident?
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 1               MR. STECHSCHULTE:       At the time of the incident
 2   of --
 3               THE COURT:     Mr. Costa.
 4               MR. STECHSCHULTE:       Are we talking about --
 5               THE COURT:     The shooting.
 6               MR. STECHSCHULTE:       The shooting, not the murder,
 7   Your Honor?
 8               THE COURT:     That's correct.
 9               MR. STECHSCHULTE:       Okay.   I would, frankly, have
10   to review the discovery, but from my recollection, I do not
11   believe he was present for that.
12               THE COURT:     Well, the Government couldn't place
13   him there, but the Government didn't go back and look at the
14   video to see if a black car matching his car's description
15   went to that venue, even though Mr. Costa said, I think,
16   that there was a black car in the vicinity.
17               MR. STECHSCHULTE:       And, Your Honor, whether there
18   was a black car or not, that's a very -- frankly, a very
19   vague description, a black car.          There are many black cars.
20               THE COURT:     I know, but we're here on a plea, so
21   the facts are what they are, not what the Government can
22   prove them to be.      But you maintain the position that
23   Mr. Guinto was not there and that his role in securing that
24   weapon was significant to the Government's case?
25               MR. STECHSCHULTE:       That's correct, Your Honor.
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 1               THE COURT:     And testifying about his ability to
 2   secure the weapon.
 3               MR. STECHSCHULTE:       That's correct, Your Honor.
 4               THE COURT:     All right.
 5               MR. STECHSCHULTE:       The third issue specifically
 6   is that Mr. Guinto's testimony regarding the enterprise's
 7   drug trafficking was corroborated by the evidence.              That was
 8   an argument the Government made during its closing argument
 9   and clearly the jury believed the Government's argument and
10   was -- and that the evidence supported Mr. Guinto's account
11   of the enterprise's drug trafficking.
12               Fourth, and lastly, Mr. Guinto's testimony that
13   the co-defendant Mencher was planning on making a heroin
14   delivery was consistent with the other evidence, Your Honor.
15               So in our estimation there's four specific
16   instances that the Government relied on in its closing
17   argument that helped the Government and that was important
18   for the Government in securing a conviction of the two
19   defendants that chose to go to trial, Your Honor, and we
20   would ask that the Court evaluate -- this isn't just the
21   normal cooperation where somebody pleads guilty as a result
22   of cooperation.      Mr. Guinto, placing himself and his family
23   in danger, testified in our estimation truthfully, honestly,
24   and more importantly, he was significant and it helped
25   and/or contributed to the convictions of the two
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 1   co-defendants that chose to go to trial, and we would ask
 2   that the Court consider that in making a determination of
 3   the appropriate downward departure levels, Your Honor.
 4               THE COURT:     Thank you.
 5               Any response from the Government?
 6               MR. GAMMONS:     No, Your Honor.
 7               THE COURT:     Do you disagree with anything the
 8   defense said about Mr. Guinto's significance to the
 9   Government's case?
10               MR. GAMMONS:     I have no disagreements.         I will
11   clarify that the Government is comfortable that Mr. Guinto
12   was not present at the time of the shooting of James Costa,
13   however.
14               THE COURT:     What is the basis for that comfort?
15               MR. GAMMONS:     Based on the Government's review of
16   the evidence, based on my proffers with Mr. Guinto, based on
17   the statements that he made to Sean Leonard before he knew
18   Sean Leonard was cooperating with law enforcement, based on
19   my estimation of the evidence, I don't believe that
20   Mr. Guinto was present.
21               THE COURT:     Thank you.
22               Do you wish to be heard any further in regard to
23   the 3553 factors and in mitigation, and does the defendant
24   wish to allocute, which is his right?
25               MR. STECHSCHULTE:       Yes.   Excuse me.     Yes,
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 1   Your Honor.
 2               THE COURT:     Let me hear from you.
 3               MR. STECHSCHULTE:       Okay.   Your Honor, would you
 4   prefer that we make an argument and call our witnesses, our
 5   character witnesses first, then have --
 6               THE COURT:     It's your preference.
 7               MR. STECHSCHULTE:       Okay.   Your Honor, I'll make an
 8   argument and then we'll have our witnesses come forward.
 9               Your Honor, Mr. Guinto respectfully requests the
10   Court consider the 18 U.S.C. 3553(a) factors as it imposes a
11   sentence that is sufficient but not greater than necessary
12   to comply with the goals of sentencing as set forth in
13   18 U.S.C. 3553.      Your Honor, specifically we would like to
14   point to the nature and circumstances of the offense and the
15   history and characteristics of Mr. Guinto.
16               As evidenced by the numerous letters that have
17   been provided to the Court in the presentence investigative
18   report, Mr. Guinto throughout his life has been a caring,
19   selfless individual.       He's shown a willingness to help other
20   people, whether it be through his military service,
21   classroom participation in St. Pete College, and
22   unfortunately, as we stated in our memorandum, to his own
23   detriment, his participation in a motorcycle gang.
24               This misplaced sense of brotherhood with his
25   co-defendants led him to follow the co-defendant Cosimano's
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 1   orders without obviously considering the consequences of his
 2   actions; however, today and throughout this case dating back
 3   to December of 2017 he immediately accepted responsibility
 4   and now is ready to accept the consequences of his actions.
 5               Regarding Mr. Guinto, as we stated before and as
 6   we've heard, Mr. Guinto was in the military in Afghanistan,
 7   he served on the front lines and he was an infantryman.
 8   During -- and as an infantryman he actually was on the front
 9   lines, it wasn't like he just served in a noncombat theater,
10   he actually was there, and unfortunately when he came back
11   he struggled to adjust to civilian life and he developed
12   PTSD, post-traumatic stress disorder.
13               That doesn't excuse his actions, in no way, shape
14   or form, but it provides some information or provides some
15   context as to why Mr. Guinto may have joined or felt the
16   need to join a biker gang, because he was used to a group
17   setting and he was used to a situation where they were his
18   brothers and his sisters and he needed and craved that
19   support.    It doesn't excuse his actions, but that kind of
20   explains and provides a little bit of context of why he
21   would join the motorcycle gang.
22               He understands his actions towards Paul Anderson
23   are -- there's no justification even based on what happened
24   to him and what Paul Anderson did to him previous to his
25   murder.    He's accepted responsibility for his actions.
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 1               Your Honor, I would also like to point -- not with
 2   respect to the 3553 factors, but regarding a departure,
 3   pursuant to United States Sentencing Guidelines 5H1.1,
 4   we believe the evidence shows Mr. Guinto's military service
 5   is present to an unusual degree and distinguish his case
 6   from the typical cases covered under the guidelines.
 7               As previously stated, he was an infantryman,
 8   but -- and he received numerous decor -- numerous medals for
 9   his service, but what's of particular note is that he
10   received the combat infantry badge, and that's for
11   individuals who participate actively in ground combat as an
12   infantryman, and those individuals, as cited in the
13   presentence investigation report, are disproportionately
14   more likely to be killed or wounded during combat, and our
15   belief, and based upon our witnesses that are going to
16   testify before Your Honor, is that his service to the
17   country ultimately resulted in him suffering from PTSD and
18   led him down the path which is why Mr. Guinto sits here
19   before Your Honor.      We would ask that the Court consider
20   that in determining a just sentence.
21               Your Honor, we do have five witnesses, character
22   witnesses, we would like to call on Mr. Guinto's behalf
23   along with -- obviously Mr. Guinto is going to provide his
24   allocution.
25               Your Honor, our first witness --
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 1               THE COURT:     These are witnesses different than the
 2   ones who provided witness statements?
 3               MR. STECHSCHULTE:       No, they're not, Your Honor.
 4   They would just want to -- we have -- and just so the Court
 5   is aware, we have his family here.          His mom and his dad flew
 6   in from Seattle, Washington, they're present here.
 7               He has significant family and friends.            He
 8   actually had -- one of his character witnesses actually flew
 9   in from Guantanamo Bay, Cuba to testify here before
10   Your Honor.     So he's got a lot of loved ones that are going
11   to bat for him, and they clearly understand what Mr. Guinto
12   did was wrong but they want the Court to know that he's an
13   individual that can be rehabilitated, that --
14               THE COURT:     Call your witnesses.
15               MR. STECHSCHULTE:       Okay.   Your Honor, our first
16   witness will be Stephanie Ferrara, Your Honor.
17               THE COURT:     Please come forward to be sworn.
18               COURTROOM DEPUTY:       Please raise your right hand.
19               Do you solemnly swear or affirm under penalty of
20   perjury that the statements you're about to give shall be
21   the truth, the whole truth and nothing but the truth, so
22   help you God?
23               THE WITNESS:     Yes, ma'am.
24               COURTROOM DEPUTY:       Please state your name for the
25   record.
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 1               THE WITNESS:     Stephanie Nicole Ferrara.
 2               THE COURT:     And spell your last name.
 3               THE WITNESS:     F-E-R-R-A-R-A.
 4               COURTROOM DEPUTY:       Thank you, ma'am.      You may take
 5   the witness stand.
 6               THE COURT:     Ms. Ferrara, you're under oath.          You
 7   have to give truthful answers.          If you give false answers,
 8   you face penalties of perjury, false statement and
 9   obstruction.     Do you understand that?
10               THE WITNESS:     Yes, Your Honor.
11               THE COURT:     How are you related to or connected to
12   Mr. Guinto?
13               THE WITNESS:     I met Allan black in 2009 through
14   some mutual friends.       We've been friends ever since.
15               THE COURT:     And where was that?
16               THE WITNESS:     At a Starbucks in Brandon.
17               THE COURT:     All right.     And you're military
18   active?
19               THE WITNESS:     Yes, ma'am.
20               THE COURT:     In what capacity?
21               THE WITNESS:     I'm in the United States Navy.          I'm
22   an E-5.    I'm a Master At Arms, which is the Navy's version
23   of military police.
24               THE COURT:     And do you have any felony
25   convictions?
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 1               THE WITNESS:     No, ma'am.
 2               THE COURT:     Counsel.
 3               MR. STECHSCHULTE:       Yes.
 4                DIRECT EXAMINATION OF STEPHANIE FERRARA
 5   BY MR. STECHSCHULTE:
 6   Q     Ms. Ferrara, can you describe -- why don't we just kind
 7   of cut to the chase.       Why are you here today?
 8   A     Allan -- Allan has been one of my best friends for over
 9   a decade now.     Throughout both of our travels through the
10   military and through wherever our lives have taken us, he's
11   always been there.       We've kind of always tried to be there
12   for each other.
13               Even when he was in Afghanistan, going through
14   everything he was going through, I was stationed in Florida
15   and he still managed to find a way to make myself feel
16   happy, and he was just always there for me, even though he
17   was going through the roughest times.           He's just always been
18   a very loyal friend.       Even my son looks up to him.         It's
19   just -- he's just always been there for me.             He's my best
20   friend.    I would trust him with my life.          Everything he's
21   done in his life up until now has been very respectable to
22   me.   I wouldn't trade our friendship for anything.             And even
23   though we are in rival branches of the military, we still
24   love each other, and I know that friendship will never die.
25   He has been there for everything for me, through every duty
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 1   station we've ever been at, even when he was in Afghanistan,
 2   in Kentucky, and I was stationed overseas, we still never
 3   lost touch.     He's just always been there for me.
 4   Q     And, Ms. Ferrara, based upon you knowing Mr. Guinto for
 5   so long, can you tell the Court why you think he can be
 6   rehabilitated and could be a productive member of society.
 7   A     I truly believe that he's always been a good person.
 8   I've known him since we were teenagers and I've never known
 9   him to do anything foul or anything against anyone else's
10   morals, especially his own, up until this.            I do believe
11   this was an isolated incident.
12               As he spoke earlier, I think he had a false sense
13   of brotherhood and he got caught up in the wrong group.
14   I understand that he did crave that, that sense of
15   brotherhood.     I do believe that this was an isolated
16   incident.     He can grow from this experience and learn from
17   his mistakes and grow from that.
18   Q     Is there anything else you would like to tell
19   Judge Scriven before you're done with your testimony?
20   A     That's pretty much it.
21   Q     All right.     Thank you.
22   A     Thank you.
23               THE COURT:     Any questions of this witness from the
24   Government?
25               MR. GAMMONS:     No, Your Honor.
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 1               THE COURT:     How do you square your
 2   understanding -- you can have a seat.
 3               How do you square your understanding of Mr. Guinto
 4   with the conduct that he engaged in in this case?
 5               THE WITNESS:     Can you repeat that, ma'am?
 6               THE COURT:     How is it consistent with this person
 7   you're describing that somebody would load up in a car and
 8   track down an individual for the purpose of shooting him
 9   dead in cold blood in the middle of the daytime?
10               THE WITNESS:     The Allan that I knew and that
11   I grew up with is not that Allan.          When I heard of this
12   event, I was extremely shocked, just as much as I'm sure his
13   family was as well.       That's not the Allan that I know and
14   that's why I believe this is an isolated incident.              The
15   Allan that I know, this is very out of character for him, to
16   go out and be a part of something like this.             This is --
17               THE COURT:     Did you know he was part of this gang?
18               THE WITNESS:     I knew he drove motorcycles.          I knew
19   he was part of motorcycle clubs.          I wasn't aware of the
20   extent of the exact gangs and their forecomings (sic) and
21   what they were about.       That I was not aware of.
22               THE COURT:     All right.     Thank you.
23               THE WITNESS:     You're welcome.
24               THE COURT:     Please call your next witness.
25               MR. STECHSCHULTE:       Yes, Your Honor, I'd like to
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 1   call Ms. Kristina Rainey.
 2               COURTROOM DEPUTY:        Please raise your right hand.
 3               Do you solemnly swear or affirm under penalty of
 4   perjury that the testimony you're about to give shall be the
 5   truth, the whole truth and nothing but the truth, so help
 6   you God?
 7               THE WITNESS:     I do.
 8               COURTROOM DEPUTY:        Please state your name for the
 9   record and spell your last name.
10               THE WITNESS:     It's Kristina Rainey.        Rainey,
11   R-A-I-N-E-Y.
12               COURTROOM DEPUTY:        Thank you, ma'am.     You may take
13   the witness stand.
14               THE COURT:     Ms. Rainey, you're under oath.           You
15   have to give truthful answers.          If you give false answers,
16   you face penalties of perjury, false statement and
17   obstruction.     Do you understand that?
18               THE WITNESS:     Yes, ma'am.
19               THE COURT:     Ms. Rainey, how are you connected to
20   this defendant?
21               THE WITNESS:     We met when we were going to
22   Hillsborough Community College together.            We were taking a
23   math class and that's how we -- how we met.
24               THE COURT:     And what is your relationship to him
25   now?
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                KRISTINA RAINEY - SEPTEMBER 17, 2019                  29
               Direct Examination by Mr. Stechschulte



 1                THE WITNESS:     Friendship.     He's one of my closest
 2   friends.
 3                THE COURT:     Do you have any felony convictions?
 4                THE WITNESS:     No, ma'am.
 5                THE COURT:     You may proceed, Counsel.
 6                MR. STECHSCHULTE:      Thank you, Your Honor.
 7                 DIRECT EXAMINATION OF KRISTINA RAINEY
 8   BY MR. STECHSCHULTE:
 9   Q     Ms. Rainey, what would you like to tell the Court about
10   Mr. Guinto's character?
11   A     He is loyal.     He is a dedicated person who is very
12   caring and he wants to make sure that you are having like
13   the best day possible, and he would make sure that he would
14   like either crack jokes or just do something to make you
15   feel better.     He was always very compassionate, like I said,
16   dedicated with his studies, with friendships, and just
17   always made -- always looking out for other people.
18   Q     And have you had communications with Mr. Guinto since
19   his arrest?
20   A     Yes.
21   Q     Can you explain.
22   A     It took us a while to finally connect, because he was
23   arrested, I didn't know where he was, but we finally -- he
24   finally was able to call me, and he was very, very
25   remorseful, he just kept apologizing and kept apologizing,
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 1   kept apologizing, that he was -- to me he sounded like
 2   scared for -- and remorseful for what -- his part of the
 3   incident.    And I think it's, again, an isolated incident.
 4   He's not somebody who is out to fight somebody, you know
 5   what I mean?     He's always -- like I said, he's always the --
 6   like the de-escalator.       If you're in a bad mood, he'd try to
 7   do something to make you laugh.          He's not a vindictive,
 8   malicious person by what -- by no means whatsoever.
 9   Q     Now, what do you think Mr. Guinto's capacity is for
10   rehabilitation?
11   A     I think he's very good for rehabilitation.             We have
12   spoken at lengths on the telephone about what our futures
13   hold in regards to, you know, what he wants to do once he
14   gets out.    We have talked at lengths about getting
15   counseling, because I had noticed like when we were in
16   school together that he did have some triggers for PTSD.
17   I am intimately familiar with PTSD, I have that myself,
18   which I seek therapy for that.         My dad is a Vietnam vet, so
19   I pretty much grew up with the PTSD triggers, I know what
20   they are, and I'm a strong, adamant person who advocates for
21   getting mental health treatment.          I think he is very
22   compliant at this point in his life with being locked up and
23   having his life changed like this.          I think he would be very
24   compliant and would be willing to look for -- to seek help.
25   Q     Now, you've heard the previous testimony of our first
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 1   witness, Ms. Ferrara --
 2   A     Um-hum.
 3   Q     -- correct?
 4               Judge Scriven had asked how does Mr. -- how do you
 5   square Mr. Guinto's conduct with why he's here today with
 6   the person that you know.
 7   A     Again, like I said, he's very loyal.           When we were in
 8   school together we've spoken at great lengths about the
 9   military.    I told him what branch my dad had served in in
10   Vietnam, and he was like, whoa, that was tremendous, and he
11   had an utmost respect for my family and what, you know, we
12   went through, because again, it's a different -- different
13   era for war, but he -- I'm sorry.
14   Q     That's okay.
15   A     He spoke at lengths about the brotherhood, about the
16   trust, about the -- having each other's backs, and he missed
17   that greatly in the military, and he had -- you know, we'd
18   go back and forth, if he wanted to go back into the military
19   to continue serving, but his disabilities with his injuries,
20   that was not an option for him, so I told him that basically
21   he needed to look at seeking therapy and try to get back to
22   civilian life, because I didn't feel like he was in civilian
23   life, I think he was still --
24   Q     Were you aware, did he seek therapy?
25   A     At the time that we were talking about it, no.
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               Direct Examination by Mr. Stechschulte



 1   Q       Okay.
 2   A       But I know he did later on.
 3   Q       Okay.     Is there anything else that you would like to
 4   tell Judge Scriven about Mr. Guinto that you haven't already
 5   said?
 6   A       I have like another letter, if you don't mind.
 7                   THE COURT:     Different than the one you already
 8   submitted?
 9                   THE WITNESS:     Yes, ma'am.
10                   THE COURT:     I'll take it and read it.
11                   THE WITNESS:     Okay.
12                   THE COURT:     Thank you.
13   BY MR. STECHSCHULTE:
14   Q       Ma'am, is there anything else that you would like to
15   add other than the letter that you provided the Court?
16   A       Just again I want to restate, I think he would be very
17   compliant in getting help with mental health therapy to help
18   him move forward with his PTSD and to make a better life for
19   himself and make better decisions and let go of that
20   brotherhood from the motorcycle family and gain a new family
21   of having supportive friends.
22                   THE COURT:     Thank you.
23                   MR. STECHSCHULTE:        Your Honor, I don't have
24   anything further of this witness.
25                   THE COURT:     Any questions from the Government of
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 1   this witness?
 2               MR. GAMMONS:     No, Your Honor.
 3               THE COURT:     Thank you.     You may step down.
 4               Call your next witness.
 5               MR. STECHSCHULTE:        Yes, Your Honor.     I would call
 6   Ms. Allison Shenofsky.
 7               THE COURT:     Please come forward to be sworn.
 8               COURTROOM DEPUTY:        Please raise your right hand.
 9               Do you solemnly swear or affirm under penalty of
10   perjury that the testimony you're about to give shall be the
11   truth, the whole truth and nothing but the truth, so help
12   you God?
13               THE WITNESS:     I do.
14               COURTROOM DEPUTY:        Please state your name for the
15   record and spell your last name.
16               THE WITNESS:     Allison Shenofsky,
17   S-H-E-N-O-F-S-K-Y.
18               COURTROOM DEPUTY:        Thank you, ma'am.     You may take
19   the witness stand.
20               MR. STECHSCHULTE:        Good morning, Ms. Shenofsky.
21               THE COURT:     Ms. Shenofsky, you're under oath.          You
22   have to give truthful answers.          If you give false answers,
23   you face penalties of perjury, false statement and
24   obstruction.     Do you understand that?
25               THE WITNESS:     Yes, ma'am, I do.
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                KRISTINA RAINEY - SEPTEMBER 17, 2019                  34
               Direct Examination by Mr. Stechschulte



 1                THE COURT:     What is your relationship with this
 2   defendant?
 3                THE WITNESS:     I met Allan when I was a student
 4   support advisor at the St. Petersburg College and I was his
 5   student support advisor.
 6                THE COURT:     And since then you've become a
 7   Veterans Service Coordinator for St. Pete College?
 8                THE WITNESS:     Yes, ma'am.
 9                THE COURT:     Is that a different role?
10                THE WITNESS:     Yes, ma'am.
11                THE COURT:     And are you here in your personal
12   capacity or are you here in your capacity as a Veterans
13   Support Specialist?
14                THE WITNESS:     That is actually a little unclear to
15   me.   I have not had my presence here sanctioned by the
16   institution; however --
17                THE COURT:     So then you're here in your personal
18   capacity.
19                THE WITNESS:     Then yes.
20                THE COURT:     I mean, the St. Pete College hasn't
21   sent you over here to speak on its behalf --
22                THE WITNESS:     Correct.
23                THE COURT:     -- in regard to Mr. Guinto; is that
24   right?
25                THE WITNESS:     Correct.    They have not.
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               Direct Examination by Mr. Stechschulte



 1                THE COURT:     All right.    Let me hear from you.
 2                THE WITNESS:     Okay.
 3                DIRECT EXAMINATION OF ALLISON SHENOFSKY
 4   BY MR. STECHSCHULTE:
 5   Q     Ms. Shenofsky, can you describe how you know
 6   Mr. Guinto.
 7   A     Yes.    I met Allan when I was a student support advisor.
 8   I was in that role for approximately six years, just over
 9   six years, at both the Gibbs and Seminole campuses.               He came
10   to me just after the Veteran's Day celebration in 2015.
11   I immediately liked him.        I liked his ability and his drive
12   to help other students.        So when he began -- that was
13   obviously in November, for anybody who doesn't know when
14   Veteran's Day is.
15                Several months later, in January, when he actually
16   began school with us -- excuse me.          During November to
17   January he continued to visit the campus, make friends at
18   the campus, even though he was not enrolled, which is quite
19   unusual, and then in January, when he actually began his
20   classes, I hired him as a V.A. work study student assistant
21   and he worked for me for quite a long time helping students
22   to achieve their educational goals.
23   Q     And what can you describe about your experience with
24   Allan and specifically his character?
25   A     Allan has always shown himself to be all these other
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 1   things that everybody else has said.           He's always been
 2   extremely caring.       He's always been fun and helpful.          He was
 3   actually functioning quite a bit as my ambassador for the
 4   Student Veterans Association while he worked for me, which
 5   is a national chapter of the Student Veterans Association,
 6   and that is a big part of our model at St. Pete College, to
 7   try and get our students involved.          There are many, many
 8   students at St. Petersburg College who miss their
 9   brotherhood and sisterhood, if you will, that they had while
10   they were in the military, and this club functions as a
11   substitute for that while they're doing their education and
12   then getting into their career, and he was so positive and
13   wonderful that I had him working mainly for that, to bring
14   people in, into the fold, if you will.
15   Q       And have you maintained contact with Mr. Guinto since
16   his incarceration?
17   A       Sporadically.
18   Q       Okay.   What can you tell -- obviously you've heard
19   Judge Scriven, some of her questions.           How can you square
20   what Mr. Guinto's actions were for what he's here for today
21   with the character that you know and the person that you
22   know?
23   A       I cannot square it.     I have enough experience with him
24   and with other people that deal with PTSD issues that what
25   everybody else has said about the lack of brotherhood and
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 1   the deep need for a brotherhood is exactly the only way
 2   I can square this.
 3   Q     Based upon your knowledge and knowing Mr. Guinto for a
 4   long time, what do you think his capacity is for
 5   rehabilitation upon his release from the Bureau of Prisons'
 6   custody?
 7   A     I'll go over that.
 8   Q     Okay.
 9   A     Okay.     So I'd like to first go over my credentialing,
10   because I think that's important to me being able to speak
11   to this particular question.
12                 I have been in the student support advisor role
13   for over six years when I was in it.            That role is quite a
14   bit like a guidance counselor.            My specialty is in the
15   strategic use of GI Bill --
16                 THE COURT:     Are you calling this individual as an
17   expert, Counsel?
18                 MR. STECHSCHULTE:        No, I am not, Your Honor.
19                 THE COURT:     All right.     Just tell me from your own
20   personal perspective, not in your expert capacity, because
21   you're not here as an expert.
22                 THE WITNESS:     Okay.     I believe that with the
23   programs that are available to Allan as an ex-con and with
24   the programs that are available to Allan as a veteran,
25   because this conviction does not exempt him from his veteran
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 1   status, I believe that he is -- he has an excellent path at
 2   rehabilitation.
 3               I've done the work into the programs that could be
 4   available to him, of which there are several in
 5   Pinellas County.      I can only guess that there would be
 6   matching programs, if not more, in Hillsborough County,
 7   depending on where he'd like to stay upon his release.
 8               Because of what I know about his veteran status
 9   and his disability status and what type of benefits he gets
10   from those, I believe he will financially be able to sustain
11   himself when he gets out.        Because of how close he is to
12   earning his degree, I believe he will be able to do that, as
13   well as gain entrance into retraining programs that
14   specifically look for ex-cons.
15               I believe that -- I know that he is eligible for
16   V.A. benefits, both medical and mental health.             I can see
17   here today that he has a positive support network from all
18   the people that have shown up from him.            I am committing
19   myself to be a part of that positive support network in my
20   professional position upon his release, and I believe that
21   if he were to take the opportunities that he has and put all
22   of his effort towards them, I think there are very few
23   barriers to him leading a successful life.            I think that one
24   of the only barriers are his job fields of choice, of which
25   there are still plenty that will allow him with a convicted
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               ALLISON SHENOFSKY - SEPTEMBER 17, 2019                 39
               Direct Examination by Mr. Stechschulte



 1   status to enter the workforce.
 2   Q     Is there anything else that you would like to tell
 3   Judge Scriven?
 4   A     Yes.   A couple things.       I pledge myself to help Allan
 5   in making an ambitious plan for reintegration into society,
 6   I pledge my professional help, and I pledge to always tell
 7   you the truth.      You will need to hear the truth, and I will
 8   give it to you, no matter how much it hurts.
 9                As well, Allan has a couple tattoos that are going
10   to bar him getting into some good jobs, and I would like you
11   to know, Your Honor, that my family has offered to sponsor
12   the removal of these tattoos, if Allan so wishes to take us
13   up on that offer.
14                One thing that I haven't heard explained very well
15   is the nature of the combat in which Allan was involved.
16   Many people today seem to believe that the conflict our
17   United States is currently in is not a hand-to-hand combat
18   and that it is conducted mainly by drones and computers, and
19   while that is true on many fronts, there are many
20   noncombatants, Allan was not one of those.            Allan's service
21   harkened back much more to Vietnam War, where there was
22   actual hand-to-hand conflict.
23                As I said in my character witness, my personal
24   belief is that people are not meant to see things like that
25   and to participate in things like that, we are a soft nature
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               ALLISON SHENOFSKY - SEPTEMBER 17, 2019                 40
               Direct Examination by Mr. Stechschulte



 1   and we can be broken, and on the other hand we can be
 2   rebuilt.
 3               THE COURT:     Thank you.     Any questions of this
 4   witness from the Government?
 5               MR. GAMMONS:     No, Your Honor.
 6               THE COURT:     Thank you.     You may step down.
 7               Call your next witness.
 8               MR. STECHSCHULTE:       Yes, Your Honor, I would call
 9   Ms. Andrea King.
10               THE COURT:     Please come forward to be sworn.
11               COURTROOM DEPUTY:       Please raise your right hand.
12               Do you solemnly swear or affirm under penalty of
13   perjury that the testimony you're about to give shall be the
14   truth, the whole truth and nothing but the truth, so help
15   you God?
16               THE WITNESS:     Yes, ma'am.
17               COURTROOM DEPUTY:       Please state your name for the
18   record and spell your last name.
19               THE WITNESS:     Andrea King, K-I-N-G.
20               COURTROOM DEPUTY:       Thank you, ma'am.      You may take
21   the witness stand.
22               THE COURT:     Ms. King, you're under oath.         You have
23   to give truthful answers.        If you give false answers, you
24   face penalties of perjury, false statement and obstruction.
25   Do you understand that?
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                  ANDREA KING - SEPTEMBER 17, 2019                    41
               Direct Examination by Mr. Stechschulte



 1                 THE WITNESS:     Yes, Your Honor.
 2                 THE COURT:     How are you related to the defendant?
 3                 THE WITNESS:     I'm his fianceé.
 4                 THE COURT:     And how long have you all been in a
 5   relationship?
 6                 THE WITNESS:     About three years now.      Two years.
 7   Two years?      September 2017.
 8                 THE COURT:     Counsel?
 9                    DIRECT EXAMINATION OF ANDREA KING
10   BY MR. STECHSCHULTE:
11   Q     Ms. King, can you explain to the Court how you first
12   got to know Mr. Guinto.
13   A     Yeah.     I actually met him in a Snapchat group, a random
14   Snapchat group.      I'm a power lifter.
15   Q     Can you explain to the Court just what a Snapchat group
16   is.
17   A     Oh, sorry.
18                 THE COURT:     Counsel, I know what a Snapchat group
19   is, and I read her letter, so you don't have to go back
20   through all of those details.
21                 MR. STECHSCHULTE:     Okay.
22                 THE COURT:     Would you like to ask questions about
23   which the Court doesn't have knowledge?
24                 MR. STECHSCHULTE:     Yes, Your Honor.
25
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                  ANDREA KING - SEPTEMBER 17, 2019                    42
               Direct Examination by Mr. Stechschulte



 1   BY MR. STECHSCHULTE:
 2   Q     If you could go into -- why do you think, based upon
 3   your experience -- and you've main -- have you maintained
 4   contact with Mr. Guinto since he's been incarcerated?
 5   A     Yeah, every day.
 6   Q     Okay.     Obviously you've written a letter and described
 7   his character.      Can you explain to the Court why he can be
 8   rehabilitated.
 9   A     I mean, now that I know when I met him he's
10   intelligent, he's caring, he's sweet.           He was literally in
11   school working when I met him, so as far as I know, the only
12   person in that club that actually had a job and did
13   something good for the community.          He actually introduced me
14   to a group of people in the power lifting community who I
15   never had met before who were surprised and spoke very
16   highly of him, but he dedicated his time to that, so I know
17   that when he --
18                 THE COURT:     In the what community?
19                 THE WITNESS:     Power lifting.
20                 THE COURT:     Okay.
21   A     You know, he dedicated a lot of time to that.             So
22   I know he's a good person and I know if he has the right
23   direction -- like I said, he's smart, he has like 95 percent
24   of his AA finished, he was literally about to go back to
25   school, he just needs to finish his degree, and I think
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                  ANDREA KING - SEPTEMBER 17, 2019                    43
               Direct Examination by Mr. Stechschulte



 1   that -- like Allison had said, that with all of the
 2   different venues in front of him and options as far as
 3   getting a job in society, that he would thrive and do well.
 4   Q     Now, Ms. King, is there anything beyond what you
 5   obviously wrote to the Court, the letter, that you would
 6   like to tell the Judge today about Mr. Guinto?
 7   A     I mean, I was going to actually read you the letter,
 8   but obviously that's not what everyone is doing here, so
 9   I mean, I just --
10                 THE COURT:   I've read your letter, and I've
11   actually read it about three times, so you don't have to
12   feel obligated to recite it, feeling that it wasn't read.
13   I did read it.
14   A     Yeah.     I mean, that was pretty much it.
15                 I mean, I love him.     I'm a 33-year-old woman that
16   has two really great jobs, I went to college, I own my own
17   house, and I wouldn't put myself in a situation with a
18   person that I didn't think was actually a good person.               If I
19   thought he was what this trial and what this incident has
20   portrayed him to be, I wouldn't in my life, in my world,
21   give myself to someone or spend the last 21 months on the
22   phone with someone I can't have contact with if I didn't
23   truly believe and know that he isn't the person that this
24   whole thing has brought to light.
25                 MR. STECHSCHULTE:     Your Honor, I'm going to pass
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                  ANDREA KING - SEPTEMBER 17, 2019                    44
               Direct Examination by Mr. Stechschulte



 1   the witness.
 2               THE COURT:     Did you know he was in this motorcycle
 3   gang during your relationship with him?
 4               THE WITNESS:     I knew he was in a motorcycle club.
 5   I had actually met a couple of the guys a couple times.
 6   I had watched Sons of Anarchy, but I always would joke, like
 7   nothing is actually like this, this isn't -- you know, I met
 8   them, I wasn't a huge fan of them, but I loved him, so we
 9   went to their Christmas party and it was like, whatever, and
10   I didn't think that in the capacity -- that it was actually
11   something like this, that this would ever happen.
12   I literally thought that was on TV.
13               THE COURT:     Well, what did you think his tattoos
14   were about?
15               THE WITNESS:     Which ones?      I mean, he has -- he
16   has tattoos, like religious tattoos, family tattoos.               The
17   ones he has now I'm not -- it's hard for me since I've seen
18   him -- I don't know much of the new ones, I can't see them
19   very well, but I mean most of his tattoos when I first met
20   him were just more or less like the same tattoos I have,
21   expressions of himself.        Like I said, he has the praying
22   hands, he has a family tattoo.         I mean, his tattoos don't
23   really portray the person that you are, in my mind, I guess.
24               THE COURT:     Anything from the Government of this
25   witness?
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                  ANDREA KING - SEPTEMBER 17, 2019                    45
               Direct Examination by Mr. Stechschulte



 1               MR. GAMMONS:       No, Your Honor.
 2               THE COURT:       Thank you very much.
 3               Any other witnesses?
 4               MR. STECHSCHULTE:       No, Your Honor.      I just wanted
 5   to relay to the Court that Mr. Alvin Guinto, his brother, is
 6   in the Philippines and would have liked to have been here,
 7   but he did provide a letter to the Court, which I'm sure
 8   Your Honor has read, along with Chris Fontanez, which was a
 9   neighbor of Mr. Guinto, and expressed -- you know, explained
10   his character.
11               Your Honor, I think Mr. Guinto now would probably
12   like to give his allocution, Your Honor.
13               THE COURT:       Do his parents wish to speak?
14               MR. STECHSCHULTE:       I had spoken with them.
15   I don't know if they --
16               THE COURT:       Do they speak English?
17               MR. STECHSCHULTE:       Oh, yes, Your Honor.       Oh, we
18   spoke with them.      Yes.
19               Do you want to speak?
20               THE COURT:       Please come forward to be sworn.
21               COURTROOM DEPUTY:       Please raise your right hand.
22               Do you solemnly swear or affirm under penalty of
23   perjury that the testimony you're about to give shall be the
24   truth, the whole truth and nothing but the truth, so help
25   you God?
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 1               THE WITNESS:     Yes.
 2               COURTROOM DEPUTY:       Please state your name for the
 3   record and spell your last name.
 4               THE WITNESS:     Grace Guinto, G-U-I-N-T-O.
 5               COURTROOM DEPUTY:       Thank you, ma'am.      You may take
 6   the witness stand.
 7               THE COURT:     Ms. Guinto, you're under oath.          You
 8   have to give truthful answers.         If you give false answers,
 9   you face penalties of perjury, false statement and
10   obstruction.     Do you understand that?
11               THE WITNESS:     Yes, Your Honor.
12               THE COURT:     How are you related to the defendant?
13               THE WITNESS:     He is my youngest son.
14               THE COURT:     And how often did you see him before
15   the incident that gives rise to this case?
16               THE WITNESS:     Before this happened, I haven't seen
17   him for a while because we moved to Seattle for a job.
18               THE COURT:     How often -- when did you move?
19               THE WITNESS:     I move about August before that
20   happened.    It happened I think in December.
21               THE COURT:     Before you moved, how often did you
22   see him?
23               THE WITNESS:     I can see him all the time, almost
24   probably about -- at least three times a week.
25               THE COURT:     He would come by your house?
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 1               THE WITNESS:     Actually he is really living in my
 2   house and he goes back and forth.
 3               THE COURT:     All right.     And can you characterize
 4   his behavior before he went to the military and his behavior
 5   after he returned from the military.
 6               THE WITNESS:     He's a very good son.        He's a very
 7   good kid, and as a mother we always make sure that we all
 8   eat dinner at night at the same time, and he always called
 9   me, wherever he is.       He is very caring.
10               THE COURT:     And how, if any way, did the military
11   experience he had change his personality, from your
12   perspective?
13               THE WITNESS:     I am -- my family is not really very
14   well-exposed to military, they are the very first one that
15   I have -- I encountered the military life, that's why I had
16   a very hard time adjusting.         He changed drastically,
17   you know, and I had a hard time understanding, but I tried
18   my best.    My husband is the one that's very, very loyal in
19   helping them, but he always -- he always very loving.
20   Whatever he had, he always have time with me, he always call
21   me and say "I love you mom," or even goodnight.
22               THE COURT:     How did his personality change
23   drastically?
24               THE WITNESS:     He -- he gets angry very easily.
25   Every time I say something or every time I called him if he
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 1   is not home at eight o'clock at night, he always said, mom,
 2   I'm a grown man, what's going on.          Before he doesn't even
 3   care, I'll be there soon, I'm going to be in bed this time
 4   of the night, you know, I'll do my homework, but after the
 5   military he -- he gets upset easily and --
 6               THE COURT:     Did he ever do anything physical?
 7               THE WITNESS:     No.
 8               THE COURT:     And do you know if he was taking
 9   medication or seeing a counselor for his emotional state?
10               THE WITNESS:     Yes.    I know he is taking some
11   medications, he is complaining to me about cannot sleep at
12   night and stay up at the middle of the night.
13               THE COURT:     All right.     Counsel, any questions?
14               MR. STECHSCHULTE:       No, Your Honor.
15               THE COURT:     Is there anything else you would like
16   to tell the Court beyond what you've already said?
17               THE WITNESS:     No, Your Honor.       I just waiting that
18   I can have my son back.
19               THE COURT:     All right.     Any questions of this
20   witness from the Government?
21               MR. GAMMONS:     No, Your Honor.
22               THE COURT:     Thank you.     You may step down.
23               Does the defendant wish to allocute?
24               MR. STECHSCHULTE:       Yes, Your Honor.
25               THE COURT:     Yes, sir.
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 1               THE DEFENDANT:      Your Honor, I want to apologize to
 2   the friends and family of James Costa and Paul Anderson.
 3   I hope my cooperation has been able to give some kind of
 4   closure.    I give my deepest condolences.          I'd also like to
 5   apologize to Cody Wesling's family.           I never should have
 6   allowed him to get involved with the motorcycle club.
 7   I never thought we'd find ourselves in a situation like
 8   this.   I'm sorry, mom.      I'm sorry to my family and friends
 9   for putting us through this.         I appreciate the unconditional
10   love and support that you guys have shown me.
11               Your Honor, I want to let you know that these
12   incidents I'm involved in is not in any way a reflection of
13   my character traits, values or upbringing.            I got involved
14   with the motorcycle club at a time when I was having
15   difficulties adjusting to normal civilian life after the
16   Army.   Sean and other prior military service members in the
17   motorcycle club showed me love and a sense of brotherhood
18   and camaraderie I was accustomed to having with my soldiers
19   in Afghanistan.      They gave me hope and a place to belong
20   when I couldn't find it anywhere else.           I was misled to
21   believe the 69'ers motorcycle club could provide me with
22   that same kind of brotherhood.         Unfortunately, they did not
23   share the same core values that were instilled in me by my
24   parents and by the United States Army.
25               I did what I did after the shootings because of a
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 1   false sense of loyalty I felt for the guys in my motorcycle
 2   club and for fear that if I didn't help, they would also see
 3   me as an enemy.      I've done everything I was asked to do to
 4   try and right my wrongdoings in the form of grand jury
 5   testimony and trial testimony.          I received threats from both
 6   organizations for cooperating and have put my loved ones in
 7   danger in order to bring justice and closure to everyone
 8   involved.
 9               Aside from these mistakes I made, I believe my
10   track record shows that given the opportunity, I can be a
11   productive member of society.         Your Honor, I'm asking for a
12   chance to show these poor decisions I made does not define
13   who I am.    At my core I'm a man of honor and integrity.
14   I know I can't undo what is done, but I truly am sorry for
15   everything that has happened.         I don't know what else I can
16   do to make things right, but I'll spend the rest of my life
17   making sure I do the right thing in any given situation.
18               THE COURT:     Thank you.
19               Mr. Gammons, there was a jailhouse call with one
20   of the co-defendants that I recall the defense presenting
21   bragging about his involvement in the shooting of
22   Mr. Anderson.     Was that Mr. Guinto?
23               MR. GAMMONS:     Yes, Your Honor.
24               THE COURT:     Do you have that by recollection or at
25   your fingertips?
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 1               MR. GAMMONS:     I don't have the actual recording,
 2   Your Honor.
 3               THE COURT:     And was the conversation with
 4   Ms. King?
 5               MR. GAMMONS:     No, Your Honor, the conversation was
 6   between Mr. Leonard and Mr. Guinto.
 7               THE COURT:     What was the conversation in general?
 8               MR. GAMMONS:     It was the night of Mr. Anderson's
 9   shooting, when Mr. Guinto was giving Mr. Leonard the firearm
10   used in the shooting, and Mr. Guinto was discussing the
11   events that happened earlier that day.
12               THE COURT:     What do you recall him saying?          This
13   was a cursing conversation?
14               MR. GAMMONS:     Yes, Your Honor.
15               THE COURT:     Where he was bragging about having
16   done some gangster stuff?
17               MR. GAMMONS:     Yeah.    Words to that effect,
18   Your Honor.     He said the murder of Paul Anderson reminded
19   him of being back in Afghanistan, and I believe he said
20   something to the effect of it -- the shooting got him
21   sexually aroused when it occurred.
22               THE COURT:     Do you recall that, Mr. Guinto?
23               THE DEFENDANT:      Yes, Your Honor.
24               THE COURT:     How do you explain that conversation?
25               THE DEFENDANT:      Sean Leonard and I have a similar
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 1   history when it comes to being in the military, so the
 2   choice of verbiage was -- sounds horrible, but it just -- as
 3   grunts, as infantrymen, the way we talk and the things we
 4   say to each other kind of sound a little outlandish, but --
 5   I said those things, but I said those things to try to
 6   impress him.     He was -- he was a fellow infantryman and also
 7   supposed to be my big brother, so I said those things to try
 8   to impress him.
 9                THE COURT:    That's not how you really felt when
10   you all shot Mr. Anderson?
11                THE DEFENDANT:     No, Your Honor.
12                THE COURT:    And what was your nickname, as
13   I recall?
14                THE DEFENDANT:     There was a couple of them.         They
15   called me Big Beefy or Milk Carton.
16                THE COURT:    And what was the reason for those
17   nicknames?
18                THE DEFENDANT:     They called me Big Beefy just
19   because I was a big guy, I liked to compete in power
20   lifting.     I was kind of -- it just started as a joke, they
21   called me Milk Carton as a joke because when I was a
22   prospect for the motorcycle club I got lost on a ride and
23   they couldn't find me, I had to call and ping my location,
24   so they were joking about putting my face on a Milk Carton
25   because I was lost.
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 1               THE COURT:     And what's the significance of the
 2   Psalms 141:1 tattoo?
 3               THE DEFENDANT:      I got that before I went to
 4   Afghanistan.     I just -- it was a strong bible verse that
 5   stuck out to me.
 6               THE COURT:     For your military service?
 7               THE DEFENDANT:      Yes, Your Honor.
 8               THE COURT:     Do you have the 1 percent tattoo
 9   somewhere on your body?
10               THE DEFENDANT:      Yes, Your Honor.
11               THE COURT:     Where is it?
12               THE DEFENDANT:      On my sternum.
13               THE COURT:     And has Ms. King seen that?
14               THE DEFENDANT:      Yes, Your Honor.
15               THE COURT:     And did she know what it was?
16               THE DEFENDANT:      I believe so, Your Honor.
17               THE COURT:     Why wasn't your relationship with your
18   actual brother a sufficient brotherhood for you?
19               THE DEFENDANT:      I -- we weren't -- we weren't that
20   close growing up.      We became closer when we both joined the
21   military.
22               THE COURT:     How many years separate you?
23               THE DEFENDANT:      One and a half, Your Honor.
24               THE COURT:     All right.     Why weren't you close
25   growing up?
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 1               THE DEFENDANT:      Um --
 2               THE COURT:     Just different personalities, or
 3   something happened?
 4               THE DEFENDANT:      We were just different
 5   personalities.
 6               THE COURT:     You lived in the same house?
 7               THE DEFENDANT:      Yes, Your Honor.
 8               THE COURT:     Thank you.
 9               Anything further from the Government?
10               MR. GAMMONS:     Yes, Your Honor.
11               Your Honor, one of the reasons we called
12   Mr. Guinto as the Government's first witness is because
13   Mr. Guinto knew a lot about this enterprise.             As far as time
14   involved with the 69'ers, he was involved longer than
15   Cody Wesling, he was involved longer than Michael Mencher.
16               As far as enterprise conduct, Mr. Guinto was
17   involved in drugs, he was involved in the Costa shooting
18   and, as you know, he was involved in the Anderson murder.
19   It appears from the accounts and what I know about
20   Mr. Guinto that he was a productive and law-abiding citizen
21   until linking up with the 69'ers.          It appears from what I've
22   heard today that he may be successful when he's released
23   from prison, but one of the things is that -- that I don't
24   want to forget is that in this case Paul Anderson lost his
25   life, and that is a very serious crime.            This is a crime --
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 1   an escalating feud between the Outlaws and the 69'ers that
 2   could have been diffused by Mr. Guinto.            On December 21st,
 3   when Mr. Anderson was murdered, just reaching out to
 4   law enforcement could have stopped this, but Mr. Guinto did
 5   it.   So despite Mr. Guinto's background, we think that the
 6   serious crime should be appreciated in this case.
 7               If the Court is to accept the Government's six
 8   levels, I believe Mr. Guinto would be at a 36-I, which is
 9   188 to 235 years.      If that were the case --
10               THE COURT:     Months.
11               MR. GAMMONS:     Sorry.     Months, Your Honor.
12               If that were the case, the Government would
13   request a low end guideline sentence.           We believe a sentence
14   in the range of 15 years is appropriate in this case.
15               Mr. Guinto's background is very, very different
16   from a lot of defendants that we see in Federal Court;
17   however, the crimes that we see in Federal Court are very
18   rarely as serious as the crimes alleged in this case, so we
19   believe that based on the background of the defendant and
20   the offense conduct, that a low end guideline sentence in
21   the neighborhood of 15 years is appropriate in this case.
22               THE COURT:     Thank you.
23               Anything else from the defense in response to the
24   Government's statements?
25               MR. STECHSCHULTE:        No, Your Honor.
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 1               THE COURT:     Sir, would you please stand.
 2               The Court has considered the arguments of the
 3   parties, the background and history of this defendant, the
 4   circumstances surrounding this offense and the facts set
 5   forth in the presentence report as well as the Government's
 6   motion based upon the defendant's effort, which was
 7   substantial in his efforts to cooperate with the Government.
 8               Well, have a seat one more time, Mr. Guinto.
 9               What of this Sean Leonard deal in New York?             How
10   did that come about and how do I square that with the facts
11   of this case?     Wasn't he basically unindicted and then
12   pursued on an Information that carried only a maximum period
13   of incarceration of five years?
14               MR. GAMMONS:     Correct, Your Honor.        Mr. Leonard
15   was arrested in New York.        He began cooperating immediately
16   on matters in New York State in addition to the matters in
17   Florida, and he was -- ultimately pled guilty to an
18   Information and plea agreement in New York with a five year
19   max.
20               THE COURT:     What of the charges of his cooperation
21   and the benefits he received had to do with this case versus
22   some other cooperation?
23               MR. GAMMONS:     Mr. Leonard has yet to be sentenced;
24   however, he is the -- his Information led to the arrest of
25   Arthur Siurano, who testified in this trial.             I expect that
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 1   at the time of sentencing they will present mitigation
 2   evidence in relation to this case in the State of New York
 3   in the Eastern District.
 4               THE COURT:     But he went from, I believe, some
 5   fairly substantial mandatory minimum sentences to a maximum
 6   sentence of life and witness protection, so he's not going
 7   to go to jail more than five years, if he serves any time at
 8   all, as I understand it; is that right?
 9               MR. GAMMONS:     Your Honor, Mr. Leonard wasn't a
10   felon and it was a firearm charge.          I don't -- there was
11   no -- a co-defendant was involved in selling narcotics, so I
12   don't believe there would have been a mandatory minimum
13   based on drugs or a 924(c) charge.          Certainly depending on
14   the charge he could have had a higher maximum, depending on
15   what Eastern District of New York charged him with.
16               THE COURT:     Even with all those firearms he was
17   dealing?    It was like multiple firearms.          It wasn't like a
18   felon in possession of one weapon.          He was an arms dealer.
19               MR. GAMMONS:     Yes, Your Honor.
20               THE COURT:     What was his original charge, do you
21   remember?
22               MR. GAMMONS:     He didn't have an original charge.
23   He was arrested when he was brokering a transaction between
24   a undercover ATF agent and his --
25               THE COURT:     So he was never charged with those
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 1   firearms and he was allowed to keep the money and then he
 2   was charged with a fairly nominal offense, by Federal
 3   standards?
 4                MR. GAMMONS:     He was never charged.
 5                THE COURT:     How does he compare in culpability, in
 6   your mind, to Mr. Guinto?        He was the head of the New York
 7   Chapter, or Mr. Siurano was?
 8                MR. GAMMONS:     Mr. Leonard was a Regional
 9   Vice President -- was a Vice President of the Killsborough
10   chapter and he was a Regional Sergeant-at-Arms.              As far as
11   culpability, Mr. Leonard was involved in trafficking drugs
12   on some occasions and involved in firearms trafficking;
13   however, he was a cooperating defendant before the Costa
14   shooting or the Paul Anderson murder, so as far as
15   culpability, I think he's substantially lesser than
16   Mr. Guinto.
17                THE COURT:     Because he was cooperating before the
18   shootings happened?
19                MR. GAMMONS:     Yes, ma'am.
20                THE COURT:     All right.    Sir, would you please
21   stand.
22                Based upon the background and history of this case
23   and the 3553 factors, it is the judgment of this Court that
24   this defendant, Allan Burt Guinto, is hereby committed to
25   the custody of the Bureau of Prisons to be incarcerated for
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 1   a term of 144 months.       This term consists of 144 months as
 2   to Counts One and Eight and a one hundred -- I'm sorry.
 3   A ten year term of incarceration on Counts One and Eight and
 4   a 144 month term of incarceration as to Count 2, such terms
 5   to run concurrently.
 6               You may be seated.
 7               Upon release from prison you will serve a five
 8   year term of supervised release.          This consists of three
 9   years as to Counts One and Eight and five years as to
10   Count Two, to run concurrently.          While on supervision you
11   will comply with the mandatory and standard conditions
12   adopted by this Court.       In addition, you will comply with
13   special conditions.
14               You must participate in mental health treatment,
15   outpatient or inpatient, as directed.           You will pay the
16   costs necessary to cover that to the extent of your ability
17   to pay, as deemed reasonable by the Office of Probation.
18               You will be prohibited from having contact with
19   members of motorcycle gangs or street gangs.
20               You are a convicted felon, so you must cooperate
21   in the collection of DNA as directed.
22               You must refrain from any use of a controlled
23   substance or possession of same.
24               You will submit to random drug testing within
25   15 days of your supervision and two periodic drug tests
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 1   thereafter as directed and thereafter up to 104 tests
 2   per year at the discretion of Probation.
 3                The Court waives the imposition of a fine.
 4                Has the Government sought forfeiture in this case
 5   against this defendant?
 6                MR. GAMMONS:    No, Your Honor.
 7                THE COURT:     It is ordered that you will pay the
 8   special assessment of $300, which is due immediately.
 9                Having considered the advisory sentencing
10   guidelines and all of the factors identified therein, the
11   Court departed downward based upon the Government's motion
12   under 5K1.1 for a total of six levels that it requested and
13   additionally for the defendant's background and personal
14   history, his level of remorse, the support of his family and
15   his prior military service for an additional approximate
16   three levels, with a sentence in the middle range of that
17   reduction.
18                The Court has accepted the plea agreement because
19   I am satisfied that it adequately reflects the seriousness
20   of the actual offense behavior and accepting it will not
21   undermine the statutory purposes of sentencing.
22                The defendant has pled guilty to Counts One, Two
23   and Eight in return for dismissal of Counts Three and Five
24   on motion of the Government.         Is there such a motion?
25                MR. GAMMONS:    Yes, Your Honor, and for the record
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 1   counts Three and Four the Government would move to dismiss
 2   at this time.
 3               THE COURT:     Three and Four or Three and Five?
 4               MR. GAMMONS:     I believe it's counts Three and
 5   Four, Your Honor.
 6               THE COURT:     So he pled to Counts One, Two and
 7   Eight, he was not charged in Five, and he is being dismissed
 8   as to Three and Four; is that right?
 9               MR. GAMMONS:     Yes, Your Honor.
10               THE COURT:     In accordance with the Government's
11   motion, Counts Three and Four are dismissed of the second
12   superseding indictment.        The underlying indictments are also
13   dismissed as to this defendant.
14               Is the defendant requesting special placement?
15               MR. STECHSCHULTE:       Yes, Your Honor.      We have --
16   I discussed it with Mr. Guinto, his placement within the
17   Bureau of Prisons.       His first recommendation or request
18   would be Coleman.      If that's not available -- Your Honor,
19   strike my original request.
20               I've spoken with Mr. Guinto and he would like to
21   go somewhere out west, in either Washington, where his
22   family resides or his parents reside, or also Nevada, where
23   I believe his sister resides -- or his aunt resides as well,
24   Your Honor.
25               THE COURT:     All right.     The Court would recommend
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 1   to the BOP that the defendant be placed in close proximity
 2   to his family in Washington or in Nevada as is practicable.
 3               Mr. Guinto, the Court cannot direct the BOP about
 4   where to place you, I can only make a recommendation so that
 5   you can be successful in your matriculation through this
 6   prison sentence, and I'll make that recommendation.
 7               Any other recommendation?
 8               MR. STECHSCHULTE:       Your Honor, obviously regarding
 9   vocational training, Mr. Guinto is interested in barber --
10   in hair cutting.      He had mentioned that -- it was referenced
11   as cosmetology in the probation report, but specifically,
12   you know, cutting hair, that would be something that he's
13   interested in as a trade, Your Honor.
14               THE COURT:     The Court would recommend that the
15   defendant be given any access to any vocational or
16   educational training as is available in the BOP facility to
17   which he is committed, including barbering if that is an
18   available option.      The Court would also recommend the
19   defendant to the RDAP program if he is eligible.
20               MR. STECHSCHULTE:       And that was our next request,
21   Your Honor, assuming he was eligible.
22               We don't have any other -- any further requests,
23   Your Honor.
24               THE COURT:     The Court having pronounced sentence,
25   does counsel for the defense object to the sentence or the
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 1   manner in which it was pronounced?
 2               MR. STECHSCHULTE:       No, Your Honor.
 3               THE COURT:     Any objection from the Government?
 4               MR. GAMMONS:     No, Your Honor.
 5               THE COURT:     You are hereby remanded to the custody
 6   of the United States Marshal to await designation by the
 7   Bureau of Prisons.
 8               You gave up most of your rights to challenge this
 9   sentence when you signed your plea agreement.             If any
10   remaining right of appeal exists that's implicated by this
11   sentence, you must exercise it within 14 days of the entry
12   of judgment, which will likely be today or tomorrow.               If you
13   fail to appeal, any remaining right of appeal will be
14   eliminated.     Do you understand that?
15               THE DEFENDANT:      Yes, Your Honor.
16               THE COURT:     Counsel, if your client chooses not to
17   appeal, get that decision in writing so that it cannot later
18   be argued that he asked you to take an appeal that you
19   failed to take, and if he chooses to take an appeal, please
20   file the notice of appeal timely.
21               Do you intend to stay on to prosecute an appeal if
22   he chooses to file one?
23               MR. STECHSCHULTE:       No, Your Honor.
24               THE COURT:     All right.     File the notice of appeal
25   and then the Court would appoint substitute counsel, if
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 1   appropriate, if he does not sign a waiver.
 2               MR. STECHSCHULTE:       Yes, Your Honor.
 3               THE COURT:     If you cannot pay the filing fee, the
 4   Clerk of Court will be directed to accept the notice of
 5   appeal without a fee, and if you cannot pay for a lawyer to
 6   represent you in the prosecution or defense of an appeal,
 7   the Court will appoint one for you.
 8               Mr. Guinto, this is, because of your cooperation,
 9   a chance at having a life past the period of your
10   incarceration.      But for the Government's grace in this case
11   you would be facing a mandatory life sentence, so the Court
12   hopes that you will take this opportunity to address your
13   mental conditions, to address your willingness to move back
14   into society successfully, and all the family members and
15   friends who are here, this is the time where he's going to
16   need you to get through this successfully because this will
17   be a difficult period of time for Mr. Guinto, but you can
18   move past this.
19               The Court would also direct the BOP to give the
20   defendant credit for all time he has served since the time
21   of his original arrest in this case.
22               Ms. Black, if you'll give this to counsel for the
23   defendant, I don't know if he wants to see this letter, and
24   then make a copy for the Court's file.
25               Is there anything further from the Government?
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 1               MR. GAMMONS:     No, Your Honor.
 2               THE COURT:     From the defense?
 3               MR. STECHSCHULTE:       No, Your Honor.
 4               THE COURT:     Thank you.     We're dismissed.
 5                                  - - - - -
 6                 (Proceedings concluded at 12:01 p.m.)
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 1                           C E R T I F I C A T E
 2
 3               This is to certify that the foregoing transcript
 4   of proceedings taken in a sentencing hearing in the United
 5   States District Court is a true and accurate transcript of
 6   the proceedings taken by me in machine shorthand and
 7   transcribed by computer under my supervision, this the 26th
 8   day of September, 2019.
 9
10
11                                                  /S/ DAVID J. COLLIER
12
13                                                 DAVID J. COLLIER
14                                                 OFFICIAL COURT REPORTER
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